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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA                          )
                                                   )
                        v.                         )
                                                   )
 WILLIAM KURCZODYNA,                               )
                                                   )    No. 04 CR 778-5
                                Defendant,         )
                                                   )    Judge Kendall
 FIDELITY SERVICE COMPANY, INC,                    )
 FIDELITY MANAGEMENT TRUST                         )
 COMPANY,                                          )
                                                   )
             Third Party Citation Respondents      )

                  UNITED STATES’ MOTION FOR TURNOVER ORDER

       The United States of America, by John R. Lausch, Jr., United States Attorney for the

Northern District of Illinois, moves this court for a turnover order and in support states as follows:

       1.      Judgment was entered in favor of the United States and against defendant William

Kurczodyna on April 9, 2007. Upon entry of judgment a lien arose on all of Kurczodyna’s property

and rights to property under 18 U.S.C. § 3613(c). Kurczodyna has an outstanding balance of

$753,336.44 as of October 25, 2018.

       2.      The United States may use any federal or state procedure to enforce the judgment.

18 U.S.C. §§ 3613(a) and (f). Citations to discover assets were issued to, served upon, answered,

and updated by respondents with statutory notice to Kurczodyna as follows:
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 RESPONDENT                          ISSUED & SERVED                    ANSWER UPDATED
 Fidelity Investments                May 2007                           September 24, 2018

 Northwestern Mutual Life            May 2007                           August 16, 2018
 Insurance Company
 Computershare Investor              April 2009                         August 29, 2018
 Services
 National City Bank n/k/a            March 2009                         August 16, 2018
 PNC Bank


       3.      The respondents answered and stated that each had in its possession or under its

control assets belonging to the defendant.

       4.      Fidelity Investment holds about $1,137,270 comprised of $244,052.67 in an

Inherited IRA, $620,044.99 in a Rollover IRA and $273,172.50 in a Roth IRA. A copy of the

updated answer is attached as Exhibit A.

       5.      This court entered an order in 2007 requiring Fidelity to liquidate a mutual fund

account in the name of Pauline Kurczodyna, Daniel Kurczodyna, and William Kurczodyna, and

to submit one-half of its value to the Clerk of the Court. The order specified that the remaining

accounts belonging to Kurczodyna should remain frozen until further order of court. Agreed

Order, Dkt. 511. A copy of that order is attached as Exhibit B.

       6.      Based upon respondents’ answers, the United States is entitled to $753,336.44 of

the value of Kurczodyna’s accounts at Fidelity Service Company, Inc. and Fidelity Management

Trust Company. 18 U.S.C. § 3613(a) and 26 U.S.C. § 6334.

       7.      The tax consequences of liquidating the Fidelity accounts is unknown, however,

there are sufficient funds in the accounts to pay any taxes incurred.

       8.      Northwestern Mutual Life Insurance Company, National City Bank now known as

PNC Bank, and Computershare also hold nonexempt assets belonging to Kuczodyna.
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         9.     The Clerk of the Court collects all payments on monetary penalties imposed in

criminal cases; accordingly, all payments should have case number 04 CR 778-5 written in the

lower left corner of the check and be submitted to:

                Clerk of the Court for the Northern District of Illinois
                219 South Dearborn Street
                20th Floor
                Chicago, Illinois 60604

   10.          The United States has provided all notices required by law.

         WHEREFORE, the United States moves for a turnover order directing that Fidelity Service

Company, Inc. and Fidelity Management Trust Company are to submit $753,336.44 from

Kurczodyna’s account to the Clerk of the Court, and to pay any taxes incurred from the withdrawal

of those funds from the remaining funds in his accounts.

                                               Respectfully submitted,

                                               JOHN R. LAUSCH, Jr.
                                               United States Attorney

                                               By: s/ Scott D. Heffron
                                                  SCOTT D. HEFFRON
                                                  Assistant United States Attorney
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       EXHIBIT A
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       EXHIBIT B
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